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                                  UNITED STATES
                      SECURITIES AND EXCHANGE COMMISSION
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                                Washington, DC 20549
DIVISION OF ENFORCEMENT                                                    Olivia S. Choe
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                                                     July 16, 2020
VIA ECF

Honorable Leda Dunn Wettre
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, NJ 07102

       Re:     U.S. Securities and Exchange Commission v. Ieremenko, et al.
               Case No. 19-cv-00505 (MCA)(LDW)

Dear Judge Wettre,

        Pursuant to the Court’s Amended Scheduling Order dated April 29, 2020 (ECF No. 91),
plaintiff U.S. Securities and Exchange Commission (“SEC”) and defendants Sungjin Cho (“S.
Cho”), Ivan Olefir, and Capyield Systems, Ltd. (“Capyield”), and relief defendant Kyungja Cho
respectfully submit this joint status letter in advance of the telephonic status conference
scheduled for July 21, 2020, at 4:30 p.m. As set forth below, the parties are actively engaged in
fact discovery and jointly request an extension of the fact discovery deadline from August 31,
2020 to November 13, 2020.

       1.      Status of Fact Discovery

        The parties continue to be actively engaged in fact discovery and have endeavored to
resolve discovery issues cooperatively. All parties have produced additional documents in recent
weeks. Defendant S. Cho has indicated that he will be producing on a rolling basis responsive
documents from devices that were seized by criminal authorities in approximately January 2019
and recently returned to him. The parties are also discussing whether the defendants will elect to
review (and if they so elect, potential avenues for the defendants to review) a large volume of
forensic and other evidence related to the hacking of the SEC’s EDGAR system.

         On June 9 and 10, 2020, the SEC deposed defendant Olefir via videoconference, both in
his individual capacity and as the Rule 30(b)(6) representative for defendant Capyield.
Following his deposition, defendant Olefir produced to the SEC a computer program that he
testified was among the tools that he employed to generate information used to make trading
decisions. Counsel for Mr. Olefir has also indicated that he will be producing additional
documents in the coming weeks, including additional records relating to the computer program.
The SEC believes that this program was responsive to the SEC’s September 30, 2019 discovery
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requests and should have been produced well before Mr. Olefir’s deposition. The SEC has
requested further information from Mr. Olefir regarding this program and other topics raised in
his deposition, through both formal and informal requests, and may seek to take further
deposition testimony from Mr. Olefir.

        The parties also anticipate taking a number of additional fact depositions. The SEC has
noticed the deposition of third-party Steven Yang, an associate of defendant S. Cho, and also
plans to continue the deposition of defendant S. Cho, as noted in the parties’ previous
submissions to the Court. Defendant S. Cho has noticed the deposition of settled defendant
David Kwon.

       2.      Joint Request for Extension of Discovery Cut-Off

        The parties have worked cooperatively to push fact discovery forward, but current travel
and other restrictions relating to COVID-19 have hampered the parties’ progress. Due to the
volume and sensitivity of the forensic evidence that the SEC has made and will make available to
the defendants for review, current restrictions have also further complicated matters. As noted
above, the SEC and defendant Olefir are discussing a potential further deposition of defendant
Olefir based upon recently produced documents. Counsel for defendant S. Cho was recently
retained by third-party Yang to represent Mr. Yang at his deposition, which has occasioned the
postponement of the deposition. Both defendant S. Cho and defendant Olefir currently reside
overseas, adding further logistical complication. In short, while the parties have worked
cooperatively to resolve discovery issues, the parties require additional time to resolve some of
these issues, particularly in light of the challenges presented by the pandemic.

       For these reasons, the parties respectfully request that the Court further amend the
scheduling order to extend the end of fact discovery until November 13, 2020.

       We look forward to speaking with Your Honor on July 21.

                                                     Respectfully submitted,

                                                     /s/ Olivia S. Choe
                                                     Olivia S. Choe
                                                     Counsel for Plaintiff

                                                     /s/ Sean Prosser
                                                     Sean Prosser
                                                     Counsel for Defendant S. Cho and
                                                     Relief Defendant K. Cho

                                                     /s Marc Litt
                                                     Marc Litt
                                                     Counsel for Defendants Olefir and
                                                     Capyield


cc:    Counsel of record (via ECF)


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